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                              UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

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In re                                                      :       Chapter 11
                                                           :
PARAGON OFFSHORE PLC                                       :       Case No. 16–10386 (CSS)
                                                           :
                                                           :
                  Debtor. 1                                :
                                                           :
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                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                        HEARING ON JUNE 10, 2021 AT 11:00 A.M. (ET)


                                          ZOOM INSTRUCTIONS:

        THE REMOTE HEARING WILL BE CONDUCTED ENTIRELY BY ZOOM
         AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
                COURTCALL WILL NOT BE USED TO DIAL IN.

     PLEASE USE THE FOLLOWING LINK TO REGISTER IN ADVANCE FOR THE
    HEARING (PARTIES MUST REGISTER IN ADVANCE, BY NO LATER THAN 12:00
       P.M. (NOON) (EDT) ON WEDNESDAY, JUNE 9, 2021, TO PARTICIPATE):

     https://debuscourts.zoomgov.com/meeting/register/vJIsf-qhqj8pHPlzQJVJ7xOJlfMWVU4PvWA

     ONCE REGISTERED, PARTIES WILL RECEIVE A CONFIRMATION E-MAIL
      CONTAINING PERSONAL LOG-IN INFORMATION FOR THE HEARING.


I.       MATTER GOING FORWARD:

         1.         Paragon Litigation Trust’s Motion for Leave to File a Reply to Paragon’s
                    Response to U.S. Trustee’s Motion to Compel Filing of Post-Confirmation
                    Quarterly Reports and Payment of Statutory Fees [D.I. 2243; filed June 4, 2021]

                    Response/Objection Deadline:                at the hearing

1
 The Debtor in this case, along with the last four digits of the debtor’s federal tax identification number is Paragon
Offshore plc (in administration) (6017). The Debtor’s mailing address is 3151 Briarpark Drive, Suite 700, Houston,
Texas 77042. Neville Barry Kahn and David Philip Soden, each of Deloitte LLP, are the joint administrators of
Paragon Offshore plc (in administration) (the “Joint Administrators”). The affairs, business and property of
Paragon Offshore plc (in administration) are managed by the Joint Administrators.



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                    Objections/Responses Received:       None at this time

                    Related Documents:

                    i.     Paragon Litigation Trust’s Reply to Paragon’s Response to U.S. Trustee’s
                           Motion to Compel Filing of Post-Confirmation Quarterly Reports and
                           Payment of Statutory Fees [D.I. 2242; filed June 4, 2021]

                    Status: The hearing on this matter will go forward.

II.      CONTESTED MATTER:

         2.         Motion of the United States Trustee to Compel Filing of Post-Confirmation
                    Quarterly Reports and Payment of Statutory Fees Pursuant to 28 U.S.C. §
                    1930(a)(6) [D.I. 2231; filed May 12, 2021]

                    Response/Objection Deadline:         May 27, 2021 at 5:00 p.m. (ET); extended to
                                                         June 2, 2021 at 4:00 p.m. (ET) for the
                                                         Debtor

                    Objections/Responses Received:

                    A.     Paragon Litigation Trust’s Response to U.S. Trustee’s Motion to Compel
                           Filing of Post-Confirmation Quarterly Reports and Payment of Statutory
                           Fees Pursuant to 28 U.S.C. § 1930(a)(6) [D.I. 2239; filed May 27, 2021]

                    B.     Response of Paragon to U.S Trustee’s Motion to Compel Filing of Post-
                           Confirmation Quarterly Reports and Payment of Statutory Fees [D.I.
                           2241; filed June 2, 2021]

                    C.     Paragon Litigation Trust’s Rely to Paragon’s Response to U.S. Trustee’s
                           Motion to Compel Filing of Post-Confirmation Quarterly Reports and
                           Payment of Statutory Fees [D.I. 2242; filed June 4, 2021]

                    Related Documents:

                    i.     Order Granting the Paragon Litigation Trust’s Motion for Entry of an
                           Order Approving the Settlement Among the Paragon Litigation Trust, The
                           Noble Defendants, and the D&O Defendants [D.I. 2227; entered February
                           24, 2021]

                    ii.    Notice of Motion of the United States Trustee to Compel Filing of Post-
                           Confirmation Quarterly Reports and Payment of Statutory Fees Pursuant
                           to 28 U.S.C. § 1930(a)(6) [D.I. 2233; filed May 17, 2021]

                    iii.   Reply of the United States Trustee in Support of his Motion to Compel
                           Filing of Post-Confirmation Quarterly Reports and Payment of Statutory
                           Fees Pursuant to 28 U.S.C. § 1930(a)(6) [D.I. 2244; filed June 4, 2021]
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                    Potential Witness Information:

                    Office of the United States Trustee for the District of Delaware (the “U.S.
                    Trustee”):

                    a.     Diane Giordano, of the U.S. Trustee’s office, will be available to testify by
                           video from her home

                    Status: The hearing on this matter will go forward.


Dated: June 8, 2021
       Wilmington, Delaware
                                                  /s/ Christopher M. De Lillo
                                                 RICHARDS, LAYTON & FINGER, P.A.
                                                 Mark D. Collins (No. 2981)
                                                 Paul N. Heath (No. 3704)
                                                 Amanda R. Steele (No. 5530)
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                                                 -and-

                                                 WEIL, GOTSHAL & MANGES LLP
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                                                 Attorneys for the Debtor




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